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UNITED STATES DISTRICT COURT                                    DOC#:
SOUTHERN DISTRICT OF NEW YORK
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BUILDING SERVICE 32BJ PENSION FUND,
                      Plaintiff,
                                                                    18 CIV 12226 L TS-OTW

            -against-                                            DEFAULT JUDGMENT
1180 AOA MEMBER LLC, and ABC
COMPANIES 1-10 (all other trades or businesses
Under common control with 1180 AOA
MEMBER LLC),
                        Defendants.
------------------------------------------------------------X

           It is hereby ORDERED, ADJUDGED, AND DECREED, That pursuant to the

Court's Memorandum Opinion and Order dated January 3, 2020, the Fund's motion for default

judgment as to counts One and Two is granted and the Fund is hereby awarded (1) $287,404 in

withdrawal liability, (2) $28,913.63 in prejudgment interest for the period from Nov. 21, 2018

through the entry of judgment, (3) $57,480.80 in liquidated damages, and (4) $17,765 in attorneys'

fees, plus $465 in costs, against Defendant 1180 AOA; Interest shall accrue at the legal rate

following the entry of Judgment; Defendant 1180 AOA is hereby directed to serve upon the Fund's

counsel, within 14 days from the date of entry of judgment, an affidavit and supporting documents

sufficient to identify each entity, that is a trade business under common control with Defendant

1180 AOA within the meaning of 29 U.S.C. § 130l(b)(l), 26 U.S.C. § 414(c), and regulation

promulgated thereunder, and all other information sought in the Fund's June 12, 2018, and

September 21, 2018, Request for Information; Count Three is dismissed without prejudice;

accordingly, this case is closed.
.      Case 1:18-cv-12226-LTS-OTW Document 39 Filed 01/03/20 Page 2 of 2




    DATED: New York, New York
           January 3, 2020

                                          RUBY J. KRAJICK

                                             Clerk of Court

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